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15     McDonald’s USA, LLC and McDonald’s Corporation
16
                           UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18
19     ELSY RODRIGUEZ,                        Case No. 2:20-CV-10733-MCS (JCx)
20                Plaintiff,                  [Assigned to the Hon. Jacqueline
                                              Chooljian]
21           v.
                                              [DISCOVERY MATTER]
22     AL-MATT INC. D/B/A
       MCDONALD’S; MCDONALD’S                 ORDER RE: STIPULATED
23     USA LLC; and MCDONALD’S                PROTECTIVE ORDER
       CORPORATION,
24
                  Defendants.
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26
27
28


                        ORDER RE: STIPULATED PROTECTIVE ORDER
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 1          Plaintiff, ELSY RODRIGUEZ, and Defendants, AL-MATT INC. D/B/A
 2    MCDONALD’S;           MCDONALD’S            USA       LLC;      and     MCDONALD’S
 3    CORPORATION (collectively, the “Parties”), by and through their respective
 4    counsel of record, hereby stipulate to and petition the Court to enter the following
 5    Stipulated Protective Order:
 6    1.    A. PURPOSES AND LIMITATIONS
 7          As the parties have represented that discovery in this action is likely to involve
 8    production of confidential, proprietary, or private information for which special
 9    protection from public disclosure and from use for any purpose other than prosecuting
10    this litigation may be warranted, this Court enters the following Protective Order.
11    This Order does not confer blanket protections on all disclosures or responses to
12    discovery. The protection it affords from public disclosure and use extends only to
13    the limited information or items that are entitled to confidential treatment under the
14    applicable legal principles. Further, as set forth in Section 12.3, below, this Protective
15    Order does not entitle the parties to file confidential information under seal. Rather,
16    when the parties seek permission from the court to file material under seal, the parties
17    must comply with Civil Local Rule 79-5 and with any pertinent orders of the assigned
18    District Judge and Magistrate Judge.
19          B.     GOOD CAUSE STATEMENT
20          In light of the nature of the claims and allegations in this case and the parties’
21    representations that discovery in this case will involve the production of confidential
22    records, and in order to expedite the flow of information, to facilitate the prompt
23    resolution of disputes over confidentiality of discovery materials, to adequately
24    protect information the parties are entitled to keep confidential, to ensure that the
25    parties are permitted reasonable necessary uses of such material in connection with
26    this action, to address their handling of such material at the end of the litigation, and
27    to serve the ends of justice, a protective order for such information is justified in this
28    matter. The parties shall not designate any information/documents as confidential

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 1    without a good faith belief that such information/documents have been maintained in
 2    a confidential, non-public manner, and that there is good cause or a compelling reason
 3    why it should not be part of the public record of this case.
 4    2.     DEFINITIONS
 5           2.1.   Action: the instant action: Rodriguez v. Al-Matt, Inc. d/b/a McDonald’s,
 6    et al., 2:20-cv-10733-MCS-JC.
 7           2.2.   Challenging Party: a Party or Non-Party that challenges the designation
 8    of information or items under this Order.
 9           2.1.   “CONFIDENTIAL” Information or Items: information (regardless of
10    how it is generated, stored or maintained) or tangible things that (1) contain or reflect
11    the producing Party’s or the producing third party’s trade secrets or confidential
12    business, operations, processes, and technical and competitive information within the
13    scope of Rule 26(c)(1)(G), the disclosure of which is likely to harm that Party’s or
14    that third party’s competitive position, (2) contain or reflect personal, financial,
15    medical, or employment information regarding a Party, witness, putative class
16    member, or current or former employee or person that the producing Party or
17    producing third party treats as confidential, or (3) otherwise qualify for protection
18    under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
19    Cause Statement.
20           2.2.   Counsel: Outside Counsel of Record and In-House Counsel (as well as
21    their support staff).
22           2.3.   Designating Party: a Party or Non-Party that designates information or
23    items that it produces in disclosures or in responses to discovery as
24    “CONFIDENTIAL.”
25           2.4.   Disclosure or Discovery Material: all items or information, regardless
26    of the medium or manner in which it is generated, stored, or maintained (including,
27    among other things, testimony, transcripts, and tangible things), that are produced or
28    generated in disclosures or responses to discovery in this matter.

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 1          2.5.   Expert: a person with specialized knowledge or experience in a matter
 2    pertinent to the litigation who has been retained by a Party or its Counsel to serve as
 3    an expert witness or as a consultant in this Action.
 4          2.6.   In-House Counsel: attorneys (and their support staffs) who are
 5    employees of a party to this Action. In-House Counsel does not include Outside
 6    Counsel of Record or any other outside counsel.
 7          2.7.   Non-Party: any natural person, partnership, corporation, association, or
 8    other legal entity not named as a Party to this action.
 9          2.8.   Outside Counsel of Record: attorneys who are not employees of a party
10    to this Action but are retained to represent or advise a party to this Action and have
11    appeared in this Action on behalf of that party, and includes support staff.
12          2.9.   Party: any party to this Action, including all of its officers, directors,
13    employees, consultants, retained experts, and Outside Counsel of Record (and their
14    support staffs).
15          2.10. Producing Party: a Party or Non-Party that produces Disclosure or
16    Discovery Material in this Action.
17          2.11. Professional Vendors: persons or entities that provide litigation support
18    services (e.g., photocopying, videotaping, translating, preparing exhibits or
19    demonstrations, and organizing, storing, or retrieving data in any form or medium)
20    and their employees and subcontractors.
21          2.12. Protected Material:      any Disclosure or Discovery Material that is
22    designated as “CONFIDENTIAL.”
23          2.13. Receiving Party: a Party that receives Disclosure or Discovery Material
24    from a Producing Party.
25    3.    SCOPE
26          The protections conferred by this Order cover not only Protected Material (as
27    defined above), but also (1) any information copied or extracted from Protected
28    Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;

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 1    and (3) any deposition testimony, conversations, or presentations by Parties or their
 2    Counsel that might reveal Protected Material, other than during a court hearing or at
 3    trial.
 4             Any use of Protected Material during a court hearing or at trial shall be
 5    governed by the orders of the presiding judge. This Order does not govern the use of
 6    Protected Material during a court hearing or at trial.
 7    4.       DURATION
 8             Even after final disposition of this litigation, the confidentiality obligations
 9    imposed by this Order shall remain in effect until a Designating Party agrees
10    otherwise in writing or a court order otherwise directs. Final disposition shall be
11    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
12    or without prejudice; or (2) final judgment herein after the completion and exhaustion
13    of all appeals, rehearings, remands, trials, or reviews of this Action, including the time
14    limits for filing any motions or applications for extension of time pursuant to
15    applicable law.
16    5.       DESIGNATING PROTECTED MATERIAL
17             5.1.   Exercise of Restraint and Care in Designating Material for Protection.
18    Each Party or Non-Party that designates information or items for protection under this
19    Order must take care to limit any such designation to specific material that qualifies
20    under the appropriate standards. The Designating Party must designate for protection
21    only those parts of material, documents, items, or oral or written communications that
22    qualify so that other portions of the material, documents, items, or communications
23    for which protection is not warranted are not swept unjustifiably within the ambit of
24    this Order.
25             Mass, indiscriminate, or routinized designations are prohibited. Designations
26    that are shown to be clearly unjustified or that have been made for an improper
27    purpose (e.g., to unnecessarily encumber the case development process or to impose
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 1    unnecessary expenses and burdens on other parties) may expose the Designating Party
 2    to sanctions.
 3          If it comes to a Designating Party’s attention that information or items that it
 4    designated for protection do not qualify for protection, that Designating Party must
 5    promptly notify all other Parties that it is withdrawing the inapplicable designation.
 6          5.2.      Manner and Timing of Designations. Except as otherwise provided in
 7    this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
 8    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 9    under this Order must be clearly so designated before the material is disclosed or
10    produced.
11          Designation in conformity with this Order requires:
12                         (a)   for information in documentary form (e.g., paper or
13    electronic documents, but excluding transcripts of depositions), that the Producing
14    Party affix at a minimum, the legend “CONFIDENTIAL” to each page that contains
15    protected material. If only a portion or portions of the material on a page qualifies for
16    protection, the Producing Party also must clearly identify the protected portion(s)
17    (e.g., by making appropriate markings in the margins).
18          A Party or Non-Party that makes original documents available for inspection
19    need not designate them for protection until after the inspecting Party has indicated
20    which documents it would like copied and produced. During the inspection and before
21    the designation, all of the material made available for inspection shall be deemed
22    “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
23    copied and produced, the Producing Party must determine which documents, or
24    portions thereof, qualify for protection under this Order. Then, before producing the
25    specified documents, the Producing Party must affix the “CONFIDENTIAL” legend
26    to each page that contains Protected Material. If only a portion or portions of the
27    material on a page qualifies for protection, the Producing Party also must clearly
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 1    identify the protected portion(s) (e.g., by making appropriate markings in the
 2    margins).
 3                        (b)    for testimony given in depositions, all deposition testimony
 4    taken in this case shall be treated as CONFIDENTIAL until no later than the thirtieth
 5    (30th) day after the transcript is delivered to counsel for the Party, witness, or third-
 6    party who was deposed. Within this time period, a Party (or a third-party who was
 7    deposed) may serve a Notice of Designation to all Parties as to specific portions of
 8    the testimony that are designated as “CONFIDENTIAL,” and thereafter only those
 9    portions identified in the Notice of Designation shall be protected by the terms of this
10    Order. Transcript pages containing Protected Material must be separately bound by
11    the court reporter, who must affix to the top of each such page the legend
12    CONFIDENTIAL, as instructed by the Party or nonparty offering, sponsoring or
13    giving the testimony. Failure of counsel to designate testimony or exhibits as
14    Protected Material at the deposition, however, shall not constitute a waiver of the
15    protected status of the testimony or exhibits. If counsel for the deponent or Party fails
16    to designate the transcript or exhibits as “CONFIDENTIAL” within the above-
17    described thirty (30) day period, any other Party shall be entitled to treat the transcript
18    or exhibits as non-confidential material.
19                        (c)    for information produced in some form other than
20    documentary and for any other tangible items, that the Producing Party affix in a
21    prominent place on the exterior of the container or containers in which the information
22    is stored the legend “CONFIDENTIAL.”             If only a portion or portions of the
23    information warrants protection, the Producing Party, to the extent practicable, shall
24    identify the protected portion(s).
25          5.3.   Inadvertent Failures to Designate. An inadvertent failure to designate
26    qualified information or items does not, standing alone, waive the Designating Party’s
27    right to secure protection under this Order for such material. Discovery Materials that
28    are initially produced without a “CONFIDENTIAL” designation may later be so

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 1    designated by supplemental written notice, and the Receiving Party must make
 2    reasonable efforts to assure that the material is treated in accordance with the
 3    provisions of this Order, including reasonable efforts to retrieve all copies, of such
 4    documents disclosed to persons and to prevent further use or disclosure of
 5    CONFIDENTIAL information contained therein by such persons.
 6    6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 7          6.1.   Timing of Challenges.       Any Party or Non-Party may challenge a
 8    designation of confidentiality at any time that is consistent with the Court’s
 9    Scheduling Order.
10          6.2.   Meet and Confer. The Challenging Party shall initiate the dispute
11    resolution process under Local Rule 37-1 et seq.
12          6.3.   The burden of persuasion in any such challenge proceeding shall be on
13    the Designating Party. Frivolous challenges, and those made for an improper purpose
14    (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
15    expose the Challenging Party to sanctions. Unless the Designating Party has waived
16    or withdrawn the confidentiality designation, all parties shall continue to afford the
17    material in question the level of protection to which it is entitled under the Producing
18    Party’s designation until the Court rules on the challenge.
19    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
20          7.1.   Basic Principles. A Receiving Party may use Protected Material that is
21    disclosed or produced by another Party or by a Non-Party in connection with this
22    Action solely for the purpose of prosecuting, defending, or attempting to settle this
23    Action and for no other purpose. Such Protected Material may be disclosed only to
24    the categories of persons and under the conditions described in this Order. When the
25    Action has been terminated, a Receiving Party must comply with the provisions of
26    Section 13 below.
27    ///
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 1          Protected Material must be stored and maintained by a Receiving Party at a
 2    location and in a secure manner that ensures that access is limited to the persons
 3    authorized under this Order.
 4          7.2.     Disclosure of “CONFIDENTIAL” Information or Items. Unless
 5    otherwise ordered by the court or permitted in writing by the Designating Party, a
 6    Receiving      Party     may    disclose   any    information    or   item    designated
 7    “CONFIDENTIAL” only to:
 8                           (a)   the Receiving Party’s Outside Counsel of Record in this
 9    Action, as well as employees of said Outside Counsel of Record’s law firm to whom
10    it is reasonably necessary to disclose the information for this Action;
11                           (b)   the officers, directors, and employees (including In-House
12    Counsel) of the Receiving Party to whom disclosure is reasonably necessary to
13    supervise, manage, or participate in this Action;
14                           (c)   Experts (as defined in this Order) of the Receiving Party to
15    whom disclosure is reasonably necessary for this Action and who have signed the
16    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
17                           (d)   the court and its personnel;
18                           (e)   Stenographers and videographers and their staff to whom
19    disclosure is reasonably necessary for this Action and who must receive a copy of this
20    Protective Order;
21                           (f)   professional jury or trial consultants, mock jurors, and
22    Professional Vendors to whom disclosure is reasonably necessary for this Action and
23    who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
24                           (g)   the author or recipient of a document containing the
25    information or a custodian or other person who otherwise possessed or knew the
26    information;
27                           (h)   during their depositions, witnesses, and attorneys for
28    witnesses, in the Action to whom disclosure is reasonably necessary provided: the

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  1   deposing party requests that the witness sign the “Acknowledgment and Agreement
  2   to Be Bound” (Exhibit A). Pages of transcribed deposition testimony or exhibits to
  3   depositions that reveal Protected Material may be separately bound by the court
  4   reporter and may not be disclosed to anyone except as permitted under this Protective
  5   Order; and
  6                        (i)   any mediator or settlement officer, and their supporting
  7   personnel, mutually agreed upon by any of the parties engaged in settlement
  8   discussions.
  9         7.3.     PROCEDURES          FOR      APPROVING           DISCLOSURES           OF
 10   CONFIDENTIAL INFORMATION OR ITEMS TO EXPERTS.
 11         Documents designated as “CONFIDENTIAL” may be shown to any Expert,
 12   together with his or her secretarial, technical and clerical staff who are actively
 13   assisting in the preparation of this litigation. Before disclosure to any such Expert, the
 14   Person to whom such information is to be disclosed shall execute the
 15   “Acknowledgment and Agreement to Be Bound” (Exhibit A). The attorney of record
 16   making the disclosure shall maintain the record of such executed Agreement until
 17   sixty (60) days following the final disposition of this matter. The foregoing
 18   notwithstanding, any such Expert who is an employee of or has been retained by a
 19   competitor of any of the Parties (other than one of the Parties) in any other matter
 20   shall not be shown or otherwise given access to documents or information designated.
 21   “CONFIDENTIAL”
 22   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 23         IN OTHER LITIGATION
 24         8.1.     If a Party is served with a subpoena or a court order issued in other
 25   litigation that compels disclosure of any information or items designated in this
 26   Action as “CONFIDENTIAL that Party must:
 27   ///
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  1                       (a)    promptly notify in writing the Designating Party. Such
  2   notification shall include a copy of the subpoena or court order unless prohibited by
  3   law;
  4                       (b)    promptly notify in writing the party who caused the
  5   subpoena or order to issue in the other litigation that some or all of the material
  6   covered by the subpoena or order is subject to this Protective Order. Such notification
  7   shall include a copy of this Protective Order; and
  8                       (c)    cooperate with respect to all reasonable procedures sought
  9   to be pursued by the Designating Party whose Protected Material may be affected.
 10          8.2.   If the Designating Party timely seeks a protective order, the Party served
 11   with the subpoena or court order shall not produce any information designated in this
 12   action as “CONFIDENTIAL” before a determination by the court from which the
 13   subpoena or order issued, unless the Party has obtained the Designating Party’s
 14   permission, or unless otherwise required by the law or court order. The Designating
 15   Party shall bear the burden and expense of seeking protection in that court of its
 16   confidential material and nothing in these provisions should be construed as
 17   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
 18   directive from another court.
 19   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 20          PRODUCED IN THIS LITIGATION
 21                       (a)    The terms of this Order are applicable to information
 22   produced by a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
 23   information produced by Non-Parties in connection with this litigation is protected by
 24   the remedies and relief provided by this Order. Nothing in these provisions should be
 25   construed as prohibiting a Non-Party from seeking additional protections.
 26                       (b)    In the event that a Party is required, by a valid discovery
 27   request, to produce a Non-Party’s confidential information in its possession, and the
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  1   Party is subject to an agreement with the Non-Party not to produce the Non-Party’s
  2   confidential information, then the Party shall:
  3                             (1)    promptly notify in writing the Requesting Party and
  4   the Non-Party that some or all of the information requested is subject to a
  5   confidentiality agreement with a Non-Party;
  6                             (2)    promptly provide the Non-Party with a copy of the
  7   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  8   specific description of the information requested; and
  9                             (3)    make the information requested available for
 10   inspection by the Non-Party, if requested.
 11                      (c)    If a Non-Party represented by counsel fails to commence
 12   the process called for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving
 13   the notice and accompanying information or fails contemporaneously to notify the
 14   Receiving Party that it has done so, the Receiving Party may produce the Non-Party’s
 15   confidential information responsive to the discovery request. If an unrepresented
 16   Non-Party fails to seek a protective order from this court within 14 days of receiving
 17   the notice and accompanying information, the Receiving Party may produce the Non-
 18   Party’s confidential information responsive to the discovery request. If the Non-Party
 19   timely seeks a protective order, the Receiving Party shall not produce any information
 20   in its possession or control that is subject to the confidentiality agreement with the
 21   Non-Party before a determination by the court unless otherwise required by the law
 22   or court order. Absent a court order to the contrary, the Non-Party shall bear the
 23   burden and expense of seeking protection in this court of its Protected Material.
 24   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 25         10.1. If a Receiving Party learns that, by inadvertence or otherwise, it has
 26   disclosed Protected Material to any person or in any circumstance not authorized
 27   under this Protective Order, the Receiving Party must immediately (a) notify in
 28   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts

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  1   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  2   persons to whom unauthorized disclosures were made of all the terms of this Order,
  3   and (d) request such person or persons to execute the “Acknowledgment and
  4   Agreement to Be Bound” (Exhibit A).
  5   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  6         PROTECTED MATERIAL
  7         11.1. When a Producing Party gives notice to Receiving Parties that certain
  8   inadvertently produced material is subject to a claim of privilege or other protection,
  9   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 10   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 11   may be established in an e-discovery order that provides for production without prior
 12   privilege review. Pursuant to Federal Rule of Civil Procedure and Federal Rule of
 13   Evidence 502, the Parties stipulate to the following treatment of inadvertently
 14   disclosed privileged or work product materials in this Action. Inadvertent disclosure
 15   of information protected by any privilege shall not constitute a waiver of any
 16   otherwise valid claim of privilege, and failure to assert a privilege as to one document
 17   or communication shall not be deemed a waiver of the privilege as to any other
 18   document or communication, even involving the same subject matter. If the receiving
 19   Party recognizes material as inadvertently produced privileged material, their counsel
 20   shall notify the producing Party or third party’s counsel and, upon request, will
 21   promptly return all copies of the document in its possession, delete any versions of
 22   the documents on any database it maintains, and make no use of the information
 23   contained in the document provided. However, the Party returning such document
 24   shall have the right to apply to the Court for an order that such document was not
 25   protected (prior to the inadvertent disclosure) from disclosure by any privilege or
 26   doctrine. The Parties stipulate that diligent steps have been taken to protect
 27   privileged/protected documents from disclosure, and that any production of privileged
 28   or work product material is deemed inadvertent and does not amount to a waiver.

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  1   12.   MISCELLANEOUS
  2         12.1. Right to Further Relief. Nothing in this Order abridges the right of any
  3   person to seek its modification by the Court in the future.
  4         12.2. Right to Assert Other Objections. No Party waives any right it otherwise
  5   would have to object to disclosing or producing any information or item on any
  6   ground not addressed in this Protective Order. Similarly, no Party waives any right
  7   to object on any ground to use in evidence of any of the material covered by this
  8   Protective Order.
  9         12.3. Filing Protected Material. A Party that seeks to file under seal any
 10   Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
 11   orders of the assigned District Judge and Magistrate Judge. Protected Material may
 12   only be filed under seal pursuant to a court order authorizing the sealing of the specific
 13   Protected Material at issue. If a Party's request to file Protected Material under seal is
 14   denied by the court, then the Receiving Party may file the information in the public
 15   record unless otherwise instructed by the court.
 16         12.4. No Effect on Party’s Own Use. Nothing contained in this Order shall
 17   affect the right of a Designating Party to disclose to its officers, directors, employees,
 18   partners, or consultants or to use as it desires any Protected Information it designated
 19   and produced as "CONFIDENTIAL.”
 20         12.5. No Effect on Rendering Legal Advice. Nothing in this Order shall bar or
 21   otherwise prevent any attorney herein from rendering advice to his or her client with
 22   respect to this litigation, and in the course thereof, from relying upon his or her
 23   examination or knowledge of Protected Information; provided, however, that in
 24   rendering such advice and in otherwise communicating with his or her client, such
 25   attorney shall not disclose the contents of any Protected Information produced by
 26   another Party herein to any Person who is not authorized to receive such information
 27   under the provisions of this Order.
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  1         12.6. No Applicability to Independently Obtained or Public Information. No
  2   Party shall be bound by this Order as to any Protected Information which: (a) is
  3   lawfully obtained independent of this litigation; (b) at the time it is disclosed, is
  4   generally known to the public; or (c) after it is disclosed, is generally known to the
  5   public, provided that such information was not obtained or made public in violation
  6   of this or any other obligation of confidentiality.
  7   13.   FINAL DISPOSITION
  8         13.1. After the final disposition of this Action, as defined in Section 4, within
  9   60 days of a written request by the Designating Party, each Receiving Party must
 10   return all Protected Material to the Producing Party or destroy such material. As used
 11   in this subdivision, “all Protected Material” includes all copies, abstracts,
 12   compilations, summaries, and any other format reproducing or capturing any of the
 13   Protected Material. Whether the Protected Material is returned or destroyed, the
 14   Receiving Party must submit a written certification to the Producing Party (and, if not
 15   the same person or entity, to the Designating Party) by the 60 day deadline that (1)
 16   identifies (by category, where appropriate) all the Protected Material that was returned
 17   or destroyed and (2) affirms that the Receiving Party has not retained any copies,
 18   abstracts, compilations, summaries or any other format reproducing or capturing any
 19   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 20   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 21   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 22   reports, attorney work product, and consultant and expert work product, even if such
 23   materials contain Protected Material. Any such archival copies that contain or
 24   constitute Protected Material remain subject to this Protective Order as set forth in
 25   Section 4.
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                                                 15
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  1   14.   Any violation of this Order may be punished by any and all appropriate
  2   measures including, without limitation, contempt proceedings and/or monetary
  3   sanctions.
  4         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  5
  6     Dated: September 29, 2021        ALTSHULER BERZON LLP
  7                                      By    /s/ Bronwen B. O’Herin
  8                                           Eve Cervantez
                                              Bronwen B. O’Herin
  9
                                              Attorneys for Plaintiff,
 10                                           Elsy Rodriguez
 11
 12
 13
 14     Dated: September 29, 2021        PROSKAUER ROSE LLP

 15                                      By      /s/ Atoyia S. Harris
 16                                           Nigel F. Telman
                                              Nicole A. Eichberger
 17                                           Atoyia S. Harris
 18                                           Philippe A. Lebel
                                              Attorneys for Defendants,
 19
                                              McDonald’s USA, LLC and
 20                                           McDonald’s Corporation
 21
 22     Dated: September 29, 2021        OGLETREE, DEAKINS, NASH, SMOAK
                                         & STEWART, P.C.
 23
                                         By       /s/ Judy H. Juang
 24                                           Lyne A. Richardson
 25                                           Judy H. Juang
                                              Attorneys for Defendant,
 26
                                              Al-Matt, Inc. d/b/a McDonald’s
 27
 28

                                            16
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  1
  2                            SIGNATURE OF ATTESTATION

  3         I hereby attest that the other signatories listed, on whose behalf the filing is

  4   submitted, concur in the filing’s content and have authorized the filing.

  5
        Dated: September 29, 2021            PROSKAUER ROSE LLP
  6
  7                                          By     /s/ Atoyia S. Harris
                                                  Nigel F. Telman
  8
                                                  Nicole A. Eichberger
  9                                               Atoyia S. Harris
 10                                               Philippe A. Lebel
                                                  Attorneys for Defendants,
 11                                               McDonald’s USA, LLC and
 12                                               McDonald’s Corporation

 13
 14
 15   PURSUANT TO THE PARTIES’ STIPULATIONS, IT IS SO ORDERED.

 16
 17   DATED: October 12, 2021

 18
 19                  /s/
      Honorable Jacqueline Chooljian
 20   United States Magistrate Judge
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                         ORDER RE: STIPULATED PROTECTIVE ORDER
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  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3
  4   I,   _____________________________             [print   or   type   full   name],   of
  5   _________________ [print or type full address], declare under penalty of perjury that
  6   I have read in its entirety and understand the Protective Order that was issued by the
  7   United States District Court for the Central District of California on October 12, 2021
  8   in the case of Rodriguez v. Al-Matt, Inc. d/b/a McDonald’s, et al., 2:20-cv-10733. I
  9   agree to comply with and to be bound by all the terms of this Protective Order and I
 10   understand and acknowledge that failure to so comply could expose me to sanctions
 11   and punishment in the nature of contempt. I solemnly promise that I will not disclose
 12   in any manner any information or item that is subject to this Protective Order to any
 13   person or entity except in strict compliance with the provisions of this Order.
 14         I further agree to submit to the jurisdiction of the United States District Court
 15   for the Central District of California for the purpose of enforcing the terms of this
 16   Protective Order, even if such enforcement proceedings occur after termination of this
 17   action. I hereby appoint __________________________ [print or type full name] of
 18   _______________________________________ [print or type full address and
 19   telephone number] as my California agent for service of process in connection with
 20   this action or any proceedings related to enforcement of this Protective Order.
 21   Date: ______________________________________
 22   City and State where sworn and signed: _________________________________
 23
 24   Printed name: _______________________________
 25
 26   Signature: __________________________________
 27
 28

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                         ORDER RE: STIPULATED PROTECTIVE ORDER
